  Case 1:17-cv-23177-KMW Document 19 Entered on FLSD Docket 06/25/2018 Page 1 of 1
 U.S.Departm entofJustice                                                                             PR O CESS R EC EIPT A N D RETU RN
 United StatesM arshalsService                                                                        See ''
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  PLAINJIFF                                                                                                                                      COURTCASENUMBER
  M aurlce Symonette                                                                                                                            17-23177-ClV -W ILLIAM S
  DEFENDANT                                                                                                                                      TYPEOFPROCESS
  Dr.Sm ithJoseph,eta1.,                                                                                                                        Summ ons& Complaint
                          NAM EOFINDIVIDUAL,COM PANY,CORPORATION.ETC.TO SERVEOR DESCRIPTION OFPROPERTY TO SEIZEOR CONDEM N

   SERVE                 John QuirinoofQuirinoConstruction Co.
      AT                 ADDRESS(StreetorRFD,ApartmentNo.,Cit
                                                            y,StateandZ1PCode)
                         1987 NE 119thRd.,NorthM iami,Florida33181.(305)892-1987
  SEND NOTICEOFSERVICECOPYTO REQUESTER ATNAMEAND ADDRESSBELOW                                                                                               xumbcrofprocesstobe
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                   IMaurice Symonette                                                                                                      xumberofpartiestobe
                    1977 NE 119th Rd.                                                                                                      servedinthiscase                      1
                    M iam i,FL 33l81
                                                                                                                                           Checkforservice
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   SPECIAL INSTRUCTIONSOR OTHER INFORMATION THAT WILL ASSISTIN EXPEDITING SERV                                                                                     es ,
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   AllTelephoneNumbers,andEstimatedTimesAvailableforServicel:
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                                                                                                                                                CLERK U S DIST.C'r.
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  SignatureofAttorneyotherOriginatorrequestingserviceonbehalfof:                                       E
                                                                                                       rrjpj-alx-rlp,y                TELEPHONENUMBER                              DATE
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       SPA CE BELO W FOR USE O F U .S.M AR SH AL ON LY --D O NO T W R ITE BELO W TH IS LIN E
   Iacknowledgereceiptforthetotal TotalProcess Districtof                                 Districtto          SignatureofAuthorizedUSM SDeputyorClerk                                     Date
   numberofprocessindicated.                   Origin                                     Serve
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   t anoneU.     85iss  mi                                            No.04                                                                                                                      ...

   Iherebycertifyandreturnthatl havepersonallyserved,ElhaveIegalevidenceofservice,I
                                                                                  Z haveexecutedasshownin'Remarks'ptheprocessdescribed
   on theindividual,company,corpo ation,etc,,atthe addressshown aboveon theontheindividualncompany,corporation,etc.shown attheaddressfnserted below.

    Z lherebycertifyandreturnthatlamunabletol
                                            ocatetheindividual,company,corporation,etc.namedabove(Seeremarkzbelow)
   Nameandtitleofindi
                    vidualserved(fnotshownabovq)                                                                                                     j
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                                                                                                                                                           ofabode
   Address(completet7?7/
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                           /krentthanshownabove)                                                                                                      Date -                     Tim                   .
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   ServiceFee              TotalM ileageCharges FonvardingFee                         TotalCharges            AdvanceDeposits              A)l)(3u'1lO'svedtotrS.Marshaf*(.
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    REM ARKS:
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               .                1.CLERK OFTHECOURT                                                                                                                    PRIOR EDITIONSM AY BE USED
                                2.USM S RECORD
                                3.NOTICE OF SERVICE
                                4.BILLING STATEM ENT*:TobereturnedtotheU.S.M arshalwithpayment,
                                  ifanyamountisowed.PleaseremitpromptlypayabletoU .S.M arshal.                                                                                                Form USM -285
                                5.ACKNOW LEDGM ENT OFRECEIPT                                                                                                                                      Rev.l1/I3
